                                                Case 1:15-cv-12854-ADB Document 1-1 Filed 06/29/15 Page 1 of 2
JS44 (Re v. 12/ 12)                                                                                            CIVIL COVER SHEET
The JS 44 civi l cover sheet and the information contain ed herei n neith er replace nor supplement the tilin g and service of pleadin gs or other papers as requi red by law, except as
provided by loca l rul es of court. Th is fo rm , approved by the Judi cial Confe rence of the United Stales in September 1974, IS requ1red for the use of the Clerk of Co urt for the
purpose of in itiating the civ il docket sheet. (S!:F !NS!H liC TIONS O N N!"X!' PA G/o OF rH!S I'IJ/1/v/)

I. (a)           PLAINTIFFS                                                                                                                                      DEFENDANTS
Roberto Pereyra ; City Fitness Group , LLC                                                                                                                     KLIO , LLC; KLIO Fitness Clubs , LLC ; KLIO Fitness BOS , LLC ; KLIO
                                                                                                                                                               Fitness Lynn, LLC ; KLIO Fitness MHO, LLC ; and Herve Sedky

       (b) Coun ty of Residence of Fi rst Listed PlainLiff                                        Kent                                                           County of Residence of First Listed Defend ant                       Essex
                                                  (!:XCU ' t IN U. S 1'/.A/NtWI·TASI:S)                                                                                                             (IN U. S J>I.AIN TIF! : CAS/i S O NLY)
                                                                                                                                                                 NOT E:      IN LAND CON DEMNA TION CASES . USE THE LOCATIO                                 OF
                                                                                                                                                                             THE T RACT OF LAND INVOLVED.


        (c) Allorneys (!'irm Name, Address. a111i telephone Number)                                                                                               Auorneys (!(Known)
Stefan E. Cencarik, Grantham & Cencarik , P.C.
100 Cummings Center, Suite 224-C, Beverly, MA 01915


 II. BASIS OF JURISDICTION (Place an "X" in One Hoxuntv)                                                                                     Ill. CITIZENSHIP OF PRINCIPAL PARTIES (i'iacean                                                     "X "in One Hox.fi>rt'taim iff'
                                                                                                                                                           (For !Jil'ersity Cases Only)                                                   am/ One /Jm:fhr IJ£'}2mlam)
                                                          ~ ~        Fede ral Q uestion                                                                                                PTF             DEF                                               PTF        DEF
0       I      U.S . Government
                  Plaintiff                                             (ll..\ '.   ( ion~ rnmem   Not a /)any)                                     C iti ze n of Thi s State              0    I       0          In co rpora ted or Principal Place            0   4   ~ 4
                                                                                                                                                                                                                     of Business In This State

0              U.S. Gove rnment                              0 4     Diversity                                                                      Ci ti zen of Another State             rx           0    2     Incorpo rated ami Principal Place             0   5   0
                  D~fe nd ant                                          (Indicate Cili:enship f~{ Parries inllem Ill)                                                                                                  of Business In Anot her State

                                                                                                                                                    C iti ze n or S ubject o f a           0            0          Fo reign Nati on                              0   G   0 G
                                                                                                                                                       Forei •n Countl"\1

 IV NATURE OF SUIT (!'lace all                                          " \"" in One Hox Only)
                  C ONTRACT                                                             TORTS                                                           FORFEITURE/PENALTY                                  BANKRUPTCY                          OTH ER STATUTES

 0      I I0 Insurance                                        PERSO NAL IN.IURY                             PERSONAL INJU RY                        0 625 Drug Related Seizure                  0 422 Appeal 28 USC \ 58                 0 375 False C laims .-\ct
 0      120  Marine                                      0    3 10 Ai rpl an<                         0    365 Personal lnj Uiy -                         of Property 2 1 USC 88 1              0 423 Wi th drawal                       0 400 S tate Reapportionment
 0      I YO Mill er Ac t                                0    3 15 Airplane Product                                Produc t Liability               0 690 Othe r                                      28 usc \5 7                        0 410 Antit rust
 0      140  Negotiable l n s trum ~ nt                             Liab ility                        0    367 Health Care/                                                                                                              0 430 Bank s and Bankin g
 0      150  Recovery ofO vt:rpaymc: nt                  0    320 Assault. Libel &                                 Pharmaceutical                                                                    PROPERTY Rll': HTS                  0 4 50 Com merce:
            & E nfo n:~ m t! nt of Judg ment                        Sla nd er                                      Pe rsona l Inju ry                                                            0 820 Copyright s                       0 460 Deportation
 0      15 1 Medi care Ac t                              0    330 Federa l Emp loyers '                            Product Liability                                                             0 830 Patent                            0 470 Racketeer Influ enced and
 0      152 Recovery o f Defaulted                                  Liability                         0    368 Asbestos Personal                                                                l!!l 840 Trademark                              Corrupt Orga ni za ti ons
             Stud ent Loans                              0    340 Marine                                            Injury Product                                                                                                       0 480 Cons umer Cred it
             (Ex~..:hl(l es Veterans)                    0    345 Mar ine Produ cl                                 Liabili1 y                                    LAR<lR                           SOCIAL SECUR ITY                       0 490 Cab k /Sa1 T V
 0      153 Recove ry of Overpayment                                Liabi li ty                           PERSO NAL PROPERTY                        0 7 10 Fair Labor Standards                 0 86 \ HI A ( \ 395 1!)                  0 850 Securit ies/Comm od ities/
             of Veleran·s Be nefits                      0    350 Mo10r Veh ic le                     0    370 Other Fraud                                  Ac t                                0 862 Black Lun g (923)                             Exch an ge
 0      160 S1ockholders' Sui1 s                         0    355 Mo10r V<h ic\ e                     0    '}. 7 1 Truth in Lending                 0 720 Labor/Ma nagemem                      0 863 DI WC/D \WW (405 (g))              0   890    Other SlallliOIY Ac li ons
 0      190 O th t: r Contract                                     Prod uct Liabi li ty               0    380 0 1her Personal                              Relatio ns                          0 864 SS ID T ille XV I                  0   891    Agri cu ltural Act s
 0      I 95 Con tract Prodth:l Liability                0    360 0 1her Pe rsonal                                 Property Damage                  0 740 Railway Labor Acl                     0 865 RS I (405(g)l                      0   803    Environmental Matters
 0      196 Franchi se                                             lnjUiy                             0    385 Properry Damage                      0 75 1 Fami ly and Med ica l                                                         0   89 5   Freedom of Informatio n
                                                         0    .362 Personal Injlll) ' -                            Product Liability                        Leave Acl                                                                               A l:t
                                                                   Med ical Malpract ice                                                            0 790 0 1her Labo r Li1iga1ion                                                       0   896 Arbitra ti on
I              REAL PROPERTY                                     CIV IL R IGHTS                         PRISONER PETITIONS                          0 791 Emp loyee Reti rement                   FEDERAL TAX SU ITS                     0   899 Admi ni s t r ati v ~ Procedu re
 0      2 10 Land Conde mn at ion                        0    440 Other Ci vil Rights                    Habeas Cor pus:                                   In come Sec uri ty Act               0 870 Taxes (U.S . Plain1iff                     .~ct!Revicw or Appeal of
 0      220 Foreclosure                                  0    441 V01 ing                              0 463 Ali en Detainee                                                                           or Defe ndant )                           Agency Decision
 0      2.'0 Rem Lease & Ejectment                       0    442 Employ menl                          0 5 10 Mo ti ons to Vacate                                                               0 87 1 IRS- Third Party                  0   950 Co nsli tul ionality or
 0      240 Torts 10 Land                                0    443 Hou si ng/                                  Se nt ence                                                                               26 usc 7609                               S tate Staru tes
 0      245 Ton Producl Liabil ity                                 Acco mm odati ons                   0 530 Ge nera l
 0      290 Al l 0 1hor Ro•l Propert y                   0    445 A mer. w/D is<i bililies-            0 5.15 Dealh Penalty                               lMMJGRATION
                                                                   Empl oy mctll                         Other:                                     0 462 Na1urali za rion Applicatio n
                                                         0    446 A mer. w/D isabilir ies-             0 540 Mandam us & Oth er                     0 465 O ther lmm igrar ion
                                                                   Orha                                0 550 Civil Righl s                                Ac ri ons
                                                         0    448 Educalion                            0 555 Priso n Co ndit ion
                                                                                                       0 560 C iv il De tain ee-
                                                                                                              Conditions of
                                                                                                              Con finemct tl

    V. 0 Rl GIN                 (/' lace '"' " X " "' One Hox On I)~
)l( I Origi nal                         0 2 Removed from                                0     3      Remanded from                         0 4 Rein stated or               0 5 Transfe rred from                  0 6 Mult idi stricl
      Proceeding                                  Stale Court                                        Appell ate Court                          Reo pened                            Another Di strict                  Liti gation
                                                                                                                                                                                    ('pecify)
                                                                Cile lh e U.S. Civ il Slalule under which vou are fi ling (Do not d tejurisdictionalstatute.,· u11le.,·s di versin ):
    VI. CAUSE OF ACTION ~L~A~N~H::....A::.:.M:...:A.,:.:C:::...T~,~1.:::..5..:::U..:.::.S::..:..C: : . .:. . ;LL:1~f..:...14..:....::::.&~1..:.:12::..::5~.-     ----------
                                                                                                                                                                          · -----------
                                                                Brief desc ription of cause:
                                                                 SM infringement, unfair competition , cyber piracy and state law tort and contract claims.
    VII. REQUESTED IN       0                                          CHECK IF TH IS IS A C LASS ACT IO N                                               DEMANDS                                                 CHECK YES on ly if demanded in co mpl aint :
          COMPLAINT:                                                   UN DER RULE 23 , F R Cvl'                                                               210 ,298 .00                                   J URY DE:'I·IA N D :    )!l Yes     0 No

    V III. REL ATED CASE(S)
                                                                     ( See ins/ruction.,):
           IF ANY                                                                                      JUDGE                                                                                          DOCK ET NU MBER
                                                                                                            S IGNATU RE OF               T-FO~Y OF RECORD
                                                                                                                        _,;::::::- c__-----2
        RECE IPT #                                 AMOU NT                                                        APP LY ING IFP                                                   JUDGE                                    MAG. JUDGE
                          - - - -- - - -                            -------------
                    Case 1:15-cv-12854-ADB Document 1-1 Filed 06/29/15 Page 2 of 2
                                                  UNITED STATES DISTRICT COURT
                                                   DISTRICT OF MASSACHUSETTS


1. Title of case (name of first party on each side only) Pereyra v. Sedky



2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local
    rule 40.1(a)(1)).

              I.        410, 441, 470, 535, 830*, 891, 893, 895, R.23, REGARDLESS OF NATURE OF SUIT.

    ✔         II.       110, 130, 140, 160, 190, 196, 230, 240, 290,320,362, 370, 371, 380, 430, 440, 442, 443, 445, 446, 448, 710, 720,
                        740, 790, 820*, 840*, 850, 870, 871.

              III.      120, 150, 151, 152, 153, 195, 210, 220, 245, 310, 315, 330, 340, 345, 350, 355, 360, 365, 367, 368, 375, 385, 400,
                        422, 423, 450, 460, 462, 463, 465, 480, 490, 510, 530, 540, 550, 555, 625, 690, 751, 791, 861-865, 890, 896, 899,
                        950.

                        *Also complete AO 120 or AO 121. for patent, trademark or copyright cases.


3. Title and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
   district please indicate the title and number of the first filed case in this court.



4. Has a prior action between the same parties and based on the same claim ever been filed in this court?

                                                                                    YES                NO     ✔
5. Does the complaint in this case question the constitutionality of an act of congress affecting the public interest?       (See 28 USC
   §2403)

                                                                                    YES                NO     ✔
                                                                                                               
    If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

                                                                                    YES                NO     ✔
                                                                                                               
6. Is this case required to be heard and determined by a district court of three judges pursuant to title 28 USC §2284?

                                                                                    YES                NO     ✔
                                                                                                               
7. Do all of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
   Massachusetts (“governmental agencies”), residing in Massachusetts reside in the same division? - (See Local Rule 40.1(d)).

                                                                                    YES                NO     ✔
              A.        If yes, in which division do all of the non-governmental parties reside?

                        Eastern Division                       Central Division                       Western Division     
              B.        If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,
                        residing in Massachusetts reside?


                        Eastern Division     ✔                 Central Division                       Western Division     
8. If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,
   submit a separate sheet identifying the motions)

                                                                                    YES                NO     ✔
(PLEASE TYPE OR PRINT)
ATTORNEY'S NAME Stefan E. Cencarik

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TELEPHONE NO. 617-497-7141
                                                                                                                (CategoryForm9-2014.wpd )
